              Case 2:21-cv-01030-RSL Document 27 Filed 12/17/21 Page 1 of 1



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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8
      ALBERT R. ZUNIGA,
                                                               Cause No. C21-1030RSL
 9
                             Plaintiff,

10
                  v.                                           ORDER

11
      KING COUNTY, et al.,

12
                             Defendants.

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            The above-captioned matter was dismissed on September 20, 2021, under the standards
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     articulated in 28 U.S.C. § 1915(e)(2). Dkt. # 23. Mr. Zuniga has now filed a motion for
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16   reconsideration, arguing that unidentified “first responders” have arbitrarily misused weaponized

17   sirens designed to pierce plate glass windows and the ear drums of citizens. Dkt. # 26. The
18   motion is untimely, does not identify a manifest error in the prior order, and offers no new facts
19
     or legal authority regarding the previously-dismissed claims. The motion for reconsideration is
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     therefore DENIED.
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23          Dated this 17th day of December, 2021.

24
                                               Robert S. Lasnik
25                                             United States District Judge
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27

28   ORDER - 1
